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UNITED STATES DISTRICT COURT €ASTERN DISTRICT WI
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EASTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA, witP

Plaintiff,

v. Case No. 19-CR- JY -CR- 08 |

[18 U.S.C. § 1341 & 1343]

 

 

CHRISTOPHER KUBIAK,
Defendant.
INDICTMENT
THE GRAND JURY CHARGES:

1. Beginning by at least May 2013 and continuing thereafter until August 2018, the
exact dates being unknown to the grand jury, in the State and Eastern District of Wisconsin, and
elsewhere,

CHRISTOPHER KUBIAK
knowingly and with intent to defraud, devised and executed a scheme to defraud elderly investor
and tax clients, including E. S., A. S., W. C., J. J., E. B., and R. B., and to obtain money from
said clients by means of material false and fraudulent pretenses and representations (the
“scheme”), which scheme is more fully described below.
2. As relevant to this indictment:

(a) Christopher Kubiak was a resident of Milwaukee, Wisconsin.

(b) From February 1989 to July 2017, Kubiak was registered with Freedom

Investors Corp., as a General Securities Representative (GSR), and worked from an

office in Brookfield, Wisconsin.

1
Case 2:19-cr-00008-PP Filed 01/15/19 Page 1of6 Document 1

 
 

(c) From July 17, 2017, until October 1, 2018, Kubiak was registered with

Calton & Associates, Inc., as a GSR and an Investments Company and Variable Products
Representative, and worked from an office in Brookfield, Wisconsin.

(d) From at least 2008 until October 2018, Kubiak also held himself out to be
an authorized income tax return preparer.

(e) During his employment with Freedom Investors Corp. and Calton &
Associates, Inc., Kubiak assisted his clients with various types of investment transactions
at companies offering Annuity, IRA, and Life Insurance products including, but not
limited to, Fidelity, Voya, American Funds, and Jackson National Life Insurance
Company.

(f) Acting as a tax return preparer, Kubiak also prepared federal and state
income tax returns for a number of the same elderly clients for whom he served as a
financial advisor.

The Scheme
3. Kubiak’s scheme to defraud and obtain money by means of materially false and
fraudulent pretenses and representations was essentially as follows:

(a) Kubiak contacted associates at various investment companies and
arranged to have funds withdrawn from his clients’ investment accounts at those
companies.

(b) | Onsome occasions, Kubiak falsely stated to the associate that he was, in

fact, the client calling to request a withdrawal from, or liquidation of, an account.

2
Case 2:19-cr-00008-PP Filed 01/15/19 Page 2 o0f6 Document 1
 

 

(c) On other occasions, Kubiak stated to the associate that he was the
financial representative of the client and falsely stated that he was requesting a

withdrawal or liquidation for the client.

(d) Kubiak directed the fraudulently withdrawn and liquidated funds to be
remitted directly to the client, either in the form of a check mailed to the client’s home
address, or in the form of an Automated Clearing House (ACH) wire transfer to the
client’s checking account.

(e) Kubiak falsely told the affected clients that the withdrawn funds
represented legitimate payments such as distributions or monetary bonus incentives, and
falsely represented that he would reinvest the funds for the clients.

(f) Kubiak then directed the clients to write personal checks payable to him.
Sometimes he requested checks in the approximate amount of the withdrawn investment
funds. Other times he requested blank checks, which he would later fill in with a
monetary amount,

(g) Instead of reinvesting the funds, as he had promised, Kubiak endorsed the
clients’ checks and negotiated them through his personal checking account at Guaranty
Bank, usually taking a portion of the funds in cash and depositing the balance into his
personal account.

(h) Kubiak never invested any portion of the client funds as he had promised.

(i) In addition to falsely soliciting checks for purported investment purposes,
Kubiak sometimes asked clients to issue checks that he falsely represented were for
income tax payments, but which he in fact deposited into his personal account at

Guaranty Bank.

3
Case 2:19-cr-00008-PP Filed 01/15/19 Page 30f6 Document 1

 
 

 

 

4, As a result of his scheme, Kubiak fraudulently obtained in excess of $370,000

from elderly clients, which he used for gambling and for personal expenses.
WIRE FRAUD COUNTS
COUNTS ONE THROUGH THREE

THE GRAND JURY FURTHER CHARGES:

5. On or about the dates set forth below, in the State and Eastern District of
Wisconsin and elsewhere,

CHRISTOPHER KUBIAK,

for the purpose of executing the above-described scheme, did knowingly cause to be transmitted
in interstate commerce by means of Automated Clearing House (ACH) wire, the fraudulent

transfer of investor funds as follows:

 

Count Date Description of ACH wire transfer

 

One 11/2/15 Funds in the amount of $4,502.24, from the liquidation of a
Fidelity investment account owned by E.S., wired from the bank
account of Fidelity Investments at Bank of America in Henrico,
Virginia, to the bank account of E.S. at Citizen’s Bank in
Mukwonago, Wisconsin.

 

Two 11/13/15 Funds in the amount of $4,998.75, withdrawn from a Fidelity
investment account owned by E.S., wired from the bank account
of Fidelity Investments at Bank of America in Henrico, Virginia,
to the account of E.S. at Citizen’s Bank in Mukwonago,
Wisconsin.

 

Three 11/15/18 Funds in the amount of $4,680, from the liquidation of a Fidelity
account owned by E.S., wired from the bank account of Fidelity
Investments at Bank of America in Henrico, Virginia, to the
account of E.S. at Citizen’s Bank in Mukwonago, Wisconsin.

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1343.

4
Case 2:19-cr-00008-PP Filed 01/15/19 Page 4of6 Document 1

 
 

 

MAIL FRAUD COUNTS

COUNTS FOUR THROUGH SEVEN

THE GRAND JURY FURTHER CHARGES:

6.

Wisconsin and elsewhere,

On or about the dates set forth below, in the State and Eastern District of

CHRISTOPHER KUBIAK,

for the purpose of executing the above-described scheme, did knowingly cause to be delivered

by the United States Postal Service the following mail matter:

 

Count

Date

Description of mail

 

Four

TNTAT

An envelope containing check #4822819, drawn on the account of
Fidelity Investments at the Bank of America, and representing the
full liquidation of a Fidelity Investment account owned by W.C.,
addressed and sent to W.C. at his home in Franklin, Wisconsin.

 

Five

V/5/18

An envelope containing check # 4896724 & check #4897401,
drawn on the account of Fidelity Investments at the Bank of
America, and representing the full liquidation of two Fidelity
Investment accounts owned by W.C., addressed and sent to W.C.
at his home in Franklin, Wisconsin

 

Six

5/16/18

An envelope containing check # 4951348, drawn on the account of
Fidelity Investments at the Bank of America, and representing the
full liquidation of a Fidelity Investment account owned by W.C.,
addressed and sent to W.C. at his home in Franklin, Wisconsin

 

Seven

 

 

5/24/18

 

An envelope containing check #4954464, check #4954455, &
check #4954766, drawn on the account of Fidelity Investments at
the Bank of America, and representing the full liquidation of three
Fidelity Investment accounts owned by W.C., addressed and sent
to W.C. at his home in Franklin, Wisconsin

 

All in violation of Title 18, United States Code, Section 1341.

5

Case 2:19-cr-00008-PP Filed 01/15/19 Page 5o0f6 Document 1

 

 
 

Forfeiture Notice

7. Upon conviction of one or more of the offenses in violation of Title 18, United
States Code, Sections 134] and 1343, set forth in Counts One through Seven of this Indictment,
the defendant shall forfeit to the United States of America, pursuant to Title 18, United States
Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property, real
or personal, which constitutes or is derived from proceeds traceable to the offense of offenses of
conviction. The property to be forfeited includes, but is not limited to, a sum of money equal to
the proceeds derived from the offense or offenses of conviction.

8. If any of the property described above, as a result of any act or omission by a
defendant: cannot be located upon the exercise of due diligence; has been transferred or sold to,
or deposited with, a third person; has been placed beyond the jurisdiction of the Court; has been
substantially diminished in value; or has been commingled with other property which cannot be
subdivided without difficulty, the United States of America shall be entitled to forfeiture of
substitute property, pursuant to Title 21, United States Code, Section 853(p), as incorporated by

Title 28, United States Code, Section 2461(c).

A TRUE BILL:

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MATTHEW D. KBUEGER
United States Attorney

 

6
Case 2:19-cr-00008-PP Filed 01/15/19 Page 6of6 Document 1

 
